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                      13                                         UNITED STATES DISTRICT COURT
                      14                                             DISTRICT OF NEVADA
                      15
                                DANIEL E. LOVE; and PAMELA LOVE,                  Case No. 2:20-cv-00734-JAD-VCF
                      16
                                                    Plaintiff,                    JOINT STATUS REPORT
                      17
                                        v.                                        Complaint filed: April 23, 2020
                      18
                                LEXISNEXIS RISK SOLUTIONS INC.,
                      19
                                                    Defendant.
                      20

                      21                Plaintiffs Daniel E. Love and Pamela Love (“Plaintiffs”) and Defendant LexisNexis Risk

                      22        Solutions Inc. (“LNRS”) (collectively the “Parties”), by and through their attorneys of record,
                      23
                                hereby submit the following status report regarding settlement with LNRS.
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                                    1. On October 26, 2020, the Parties reported that a settlement was reached [ECF No. 25].
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                                    2. A settlement agreement has been prepared and finalized, but Plaintiffs have encountered a
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                                        delay with obtaining the Plaintiffs’ signatures.
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                                Case 2:20-cv-00734-JAD-VCF Document 27 Filed 12/30/20 Page 2 of 2



                                   3. The Parties estimate it may take an additional forty-five (45) days to perform their
                         1

                         2             remaining duties under the settlement agreement and file a Stipulation for Dismissal with

                         3             the Court.

                         4         4. Plaintiffs request a deadline extension until February 11, 2021 to file the stipulation of
                         5
                                       dismissal of LNRS.
                         6
                                       DATED: December 30, 2020.
                         7

                         8       KNEPPER & CLARK LLC                                 KRAVITZ, SCHNITZER & JOHNSON, CHTD.

                         9       /s/ Miles N. Clark                                  /s/ Gary E. Schnitzer
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                      17         Counsel for Plaintiffs

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                      19
                                                                  IT IS SO ORDERED.
                      20

                      21
                                                                  ___________________________________
                      22                                          Cam Ferenbach
                                                                  United States Magistrate Judge
                      23

                      24                                                   12-30-2020
                                                                  Dated:_____________________________
                      25

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                      27

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                                                                            2 of 2
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